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                      UNITED STATES DISTRICT COURT FOR THE
                           DISTRICT OF NEW HAMPSHIRE

_______________________________________
                                                     )
 CONSERVATION LAW FOUNDATION,                        )
 INC.                                                )
 Plaintiff,                                          )
                                                         Case No.
                                                     )
 v.                                                  )   COMPLAINT FOR DECLARATORY
                                                     )   AND INJUNCTIVE RELIEF AND
 NYLON CORPORATION OF AMERICA,                       )   CIVIL PENALTIES
 INC; and WEMBLY ENTERPRISES, LLC,                   )
                                                     )
 Defendants.
                                                     )
                                                     )


                                       INTRODUCTION

1.      This action is a citizen suit brought under Section 505 of the Federal Water Pollution

Control Act (“Clean Water Act” or “CWA,”), 33 U.S.C. § 1365(a), to address Clean Water Act

violations by Nylon Corporation of America, Inc. (“NYCOA”), and Wembly Enterprises, LLC

(“Wembly Enterprises”) (collectively, “Nylon,” or “Defendants”).

2.      Nylon is discharging pollutants into the Merrimack River in violation of its National

Pollutant Discharge Elimination System (“NPDES”) wastewater and stormwater permits.

Nylon’s discharge of pollutants into the Merrimack River degrades the river’s health and

diminishes the use and enjoyment of the river by CLF members.

3.      Nylon’s wastewater discharges have been subject to the 2008 and 2019 NPDES

individual wastewater permit No. NH0000116 (the “2008 Wastewater Permit” and the “2019

Wastewater Permit,” collectively, the “Wastewater Permits”). Nylon has discharged, and

continues to discharge, wastewater into waters of the United States in violation of the

Wastewater Permits by: (1) violating the Wastewater Permits’ effluent limitation and the State’s
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Certification requirement for pH; (2) violating the Wastewater Permits’ effluent limitation for

temperature; (3) contributing to the receiving waters’ failure to meet water quality standards, and

interfering with its assigned use; (4) violating the Wastewater Permits’ narrative effluent

limitations; and (5) failing to comply with monitoring and reporting requirements.

4.     Nylon’s stormwater discharges have been subject to the 2015 and 2021 Multi-Sector

General Permit for Stormwater Discharges Associated with Industrial Activity (the “2015

Stormwater Permit” and the “2021 Stormwater Permit,” collectively, the “Stormwater Permits”).

Nylon has discharged, and continues to discharge, stormwater associated with its industrial

activities into waters of the United States in violation of the Stormwater Permits by: (1) failing to

take required corrective actions; (2) failing to follow required procedures for minimizing

pollutant discharges; (3) contributing to the receiving waters’ failure to meet water quality

standards and their impairments; and (4) failing to comply with monitoring and reporting

requirements.

5.     Conservation Law Foundation (“CLF”) seeks declaratory judgment, injunctive relief, and

other relief with respect to the Facility’s violations of the Wastewater Permits, Stormwater

Permits, Section 301(a) of the Clean Water Act, 33 U.S.C. § 1311(a), and applicable regulations,

as well as the State’s Certification requirement pertaining to pH discharges.

                                 JURISDICTION AND VENUE

6.     Plaintiff brings this civil suit under the citizen suit provision of Section 505 of the Clean

Water Act, 33 U.S.C. § 1365.

7.     This Court has subject matter jurisdiction over the parties and this action pursuant to

Section 505(a)(1) of the Clean Water Act, 33 U.S.C. § 1365(a)(1); 28 U.S.C. § 1331 (an action

arising under the Constitution and laws of the United States); and 28 U.S.C. §§ 2201 and 2202


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(declaratory judgment).

8.      On February 1, 2022, Plaintiff notified Nylon and its agents of its intention to file suit for

violations of the Clean Water Act, in compliance with the statutory notice requirements of

Section 505(b)(1)(A) of the Clean Water Act, 33 U.S.C. § 1365(b)(1)(A), and the corresponding

regulations located at 40 C.F.R. § 135.2. A true and accurate copy of Plaintiff’s Notice Letter

(“Notice Letter”) is attached as Exhibit 1. The Notice Letter is incorporated by reference herein.

9.      Each Defendant received the Notice Letter. A copy of a return receipt is attached as

Exhibit 2.

10.     Plaintiff also sent copies of the Notice Letter to the Administrator of the United States

Environmental Protection Agency (“EPA”), the Acting Regional Administrator of EPA Region

1, the Citizen Suit Coordinator, and the New Hampshire Department of Environmental Services

(“NH DES”).

11.     Each of the addressees identified in the preceding paragraph received the Notice Letter. A

copy of a return receipt is attached as Exhibit 3.

12.     More than sixty days have elapsed since Plaintiff mailed its Notice Letter, during which

time neither EPA nor the State of New Hampshire has commenced an action to redress the

violations alleged in this Complaint. 33 U.S.C. § 1365(b)(1)(B).

13.     The Clean Water Act violations alleged in the Notice Letter are of a continuing nature,

ongoing, or reasonably likely to re-occur. The Defendants remain in violation of the Clean Water

Act.

14.     Venue is proper in the United States District Court for the District of New Hampshire

pursuant to Section 505(c)(1) of the Clean Water Act, 33 U.S.C. § 1365(c)(1), because the

sources of the violations are located within this judicial district.


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                                           PARTIES
Plaintiff
15.    Plaintiff, Conservation Law Foundation (“CLF”), is a nonprofit, member-supported,

regional environmental advocacy organization dedicated to protecting New England’s

environment.

16.    CLF has a long history of working to protect the health of New England’s water

resources, including addressing sources of wastewater and industrial stormwater pollution.

17.     CLF has over 6,300 members in New England. Members of CLF use and enjoy the

waters of New Hampshire, including the Merrimack River, for drinking water and for

recreational and aesthetic purposes, including but not limited to boating, swimming, fishing, and

observing wildlife.

18.     CLF members live and spend time near the Merrimack River. CLF members use and

enjoy the Merrimack River downstream from Defendants’ facility for recreational purposes,

including swimming, rowing, kayaking, birdwatching, and observing wildlife; as well as

aesthetic purposes.

19.    CLF members live in the Merrimack River Watershed and currently source their drinking

water from the Merrimack River.

20.    CLF members have been, and continue to be, directly and adversely affected by

discharges from Defendants’ Facility degrading water quality in the Merrimack River, in

violation of the Clean Water Act.

21.    CLF members are harmed by low-pH and high temperature wastewater discharge to the

Merrimack River from Defendants’ Facility, in violation of the Clean Water Act.

22.    CLF members are harmed by stormwater discharge of zinc and other pollutants to the

Merrimack River from Defendants’ Facility, in violation of the Clean Water Act.

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23.     Nylon’s wastewater and stormwater discharges impair the recreational and aesthetic uses

of the Merrimack River by harming fish, birds, and other wildlife, contributing to unpleasant

scum, foam, and/or odor, increasing toxic pollution, and reducing the use and enjoyment of the

river by CLF members.

Defendants

24.     Defendant Nylon Corporation of America (“NYCOA”) is a corporation incorporated

under the laws of Delaware.

25.     Defendant Wembly Enterprises, LLC (“Wembly Enterprises”) is a corporation

incorporated under the laws of New Jersey.

26.     Defendant Wembly Enterprises is the parent company of NYCOA.

27.     Defendant Wembly Enterprises has control over its subsidiary NYCOA.

28.     Defendant Wembly Enterprises is liable for the Clean Water Act violations of NYCOA.

29.     Defendant Wembly Enterprises and its subsidiary NYCOA own and/or operate a nylon

production facility located at 333 Sundial Avenue in Manchester, New Hampshire, 03103 (the

“Facility”).

30.     Defendant NYCOA has owned and/or operated the Facility since at least 1994.

31.     Defendant Wembly Enterprises has owned and/or operated the Facility since at least

2013.

32.     Defendants Wembly Enterprises and NYCOA are responsible for ensuring that the

Facility operates in compliance with the Clean Water Act.

33.     Defendants Wembly Enterprises and NYCOA are both persons as defined by Section

502(5) of the Clean Water Act, 33 U.S.C. 1362(5).




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                    STATUTORY AND REGULATORY BACKGROUND

The Clean Water Act

34.    The objective of the Clean Water Act is “to restore and maintain the chemical, physical

and biological integrity of the Nation’s waters.” 33 U.S.C. § 1251(a) (1972).

35.    The Clean Water Act prohibits the addition of any pollutant to navigable waters from any

point source except as authorized by a National Pollutant Discharge Elimination System

(“NPDES”) permit applicable to that point source. 33 U.S.C. §§ 1311(a) and 1342.

36.    Under the Clean Water Act’s implementing regulations, the “discharge of a pollutant” is

defined as “[a]ny addition of any ‘pollutant’ or combination of pollutants to ‘waters of the

United States’ from any ‘point source.’” 40 C.F.R. § 122.2. See also 33 U.S.C. § 1362(12).

37.    A “pollutant” is any “solid waste,” “chemical wastes, biological materials,” “wrecked or

discarded equipment, rock, sand,” and “industrial . . . waste” discharged into water. 33 U.S.C. §

1362(6).

38.     The Clean Water Act defines navigable waters as “the waters of the United States,

including the territorial seas.” 33 U.S.C. § 1362(7). “Waters of the United States” are defined by

EPA regulations to include, inter alia, all tributaries to interstate waters. See 40 C.F.R. § 122.2.

39.    “Point source” is defined broadly to include “any discernible, confined and discrete

conveyance, including but not limited to any pipe, ditch, channel, tunnel, [or] conduit . . . from

which pollutants are or may be discharged.” 33 U.S.C. § 1362(14).

40.    Section 402 of the CWA requires that NPDES permits be issued for wastewater

discharges. 33 U.S.C. § 1342.

41.    Wastewater permits establish effluent and narrative limitations to control discharges of

pollutants to receiving waters.


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42.    In order to discharge wastewater lawfully, dischargers must obtain coverage under a

wastewater permit and comply with its terms.

43.    Section 402 of the CWA requires that NPDES permits be issued for stormwater

discharges associated with industrial activities. 33 U.S.C. §§ 1342(a)(1), 1342(p)(2),

1342(p)(3)(A), 1342(p)(4), 1342(p)(6).

44.    In establishing the regulations at 40 C.F.R. § 122.26, EPA cited data showing the harmful

effects of stormwater runoff on rivers, streams, and coastal areas across the nation. Runoff from

industrial facilities contain elevated pollution levels. 55 Fed. Reg. 47990, 47991 (Nov. 16, 1990).

45.    In September 1995, EPA issued a NPDES Storm Water Multi-Sector General Permit for

Industrial Activities. EPA re-issued the Stormwater Permit on October 30, 2000, 65 Fed. Reg.

64746; on September 29, 2008, 73 Fed. Reg. 56572; on June 4, 2015 (the “2015 Stormwater

Permit”), 80 Fed. Reg. 34403; and on September 29, 2021 (the “2021 Stormwater Permit”), 86

Fed. Reg. 10269.

46.    Defendants’ Stormwater Permits were issued by EPA pursuant to Sections 402(a) and

402(p) of the CWA and regulates stormwater discharges from industrial facilities. 33 U.S.C. §§

1342(a), 1342(p).

47.    In order to discharge stormwater lawfully, Defendants were required to obtain coverage

under the Stormwater Permits and comply with their terms.

48.    Defendants were required to develop and implement a Stormwater Pollution Prevention

Plan (“SWPPP”) that identifies sources of pollutants associated with industrial discharges from

the Facility and that identifies effective Best Management Practices to control pollutants in

stormwater discharges in a manner that achieves the substantive requirements of the permit. 2015

Stormwater Permit § 2.1 at 14; 2021 Stormwater Permit § 2.1 at 18.


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49.     The Stormwater Permits incorporate state water quality standards for all affected states.

2015 Stormwater Permit § 2.2.1 at 20; 2021 Stormwater Permit § 2.2.1 at 25.

50.     The Stormwater Permits require permittees to control stormwater discharges and to

modify their control measures “as necessary to meet applicable water quality standards of all

affected states.” 2015 Stormwater Permit § 2.1 at 14, § 2.2.1 at 20; 2021 Stormwater Permit §

2.2.1 at 25.

New Hampshire’s Surface Water Quality Regulations

51.     New Hampshire’s state surface water quality standards address the chemical, physical,

and biological integrity of surface waters; the protection and propagation of fish, shellfish, and

wildlife; and recreation. N.H. Code Admin. R. Env-Wq §§ 1703.01(b), (c); 1703.19 (2022).

52.     New Hampshire’s state surface water quality standards require that the pH of Class B

waters be between 6.5 and 8.0 standard units (“S.U.”), unless naturally occurring. Id. § 1703.18.

53.     New Hampshire’s state surface water quality standards address substances that settle as

harmful deposits; float as foam, debris, or scum; produce unnatural and unsuitable odor, color,

taste, or turbidity; or interfere with recreation. Id. § 1703.03(c)(1).

54.     New Hampshire state surface water quality standards require that Class B waters “shall

contain no oil or grease in such concentrations that would impair any existing or designated

uses.” Id. § 1703.09(b).

55.     New Hampshire state surface water quality standards do not allow Class B waters to

contain color in such concentrations that would impair any existing or designated uses, unless

naturally occurring. Id. § 1703.10(b).

56.     New Hampshire state surface water quality standards require that Class B waters “shall

contain no slicks, odors, or surface floating solids that would impair any existing or designated


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use, unless naturally occurring.” Id. § 1703.12(b).

57.    New Hampshire state surface water quality standards require that “all surface waters shall

be free from toxic substances or chemical constituents in concentrations or combinations that:

       (1) Injure or are inimical to plants, animals, humans or aquatic life; or

       (2) Persist in the environment or accumulate in aquatic organisms to levels that result in
           harmful concentrations in:

                a. Edible portions of fish, shellfish, other aquatic life, or

                b. Wildlife that might consume aquatic life.

Id. § 1703.21(a).

Citizen Enforcement Suits Under the Clean Water Act

58.    The Clean Water Act authorizes citizen enforcement actions against any “person” who is

alleged to be in violation of an “effluent standard or limitation . . . or an order issued by the

Administrator or a State with respect to such a standard or limitation.” 33 U.S.C. § 1365(a)(1).

59.    An “effluent limitation” is “any restriction established by a State or the Administrator on

quantities, rates, and concentrations of chemical, physical, biological, and other constituents

which are discharged from point sources into navigable waters, the waters of the contiguous

zone, or the ocean, including schedules of compliance.” Id. § 1362(11).

60.    Such enforcement action under Section 505(a)(1) of the Clean Water Act includes an

action seeking remedies for unauthorized discharges under Section 301 of the Clean Water Act,

33 U.S.C § 1311, as well as for violations of a permit condition under Section 505(f), 33 U.S.C.

§ 1365(f).

61.    Each separate violation of the Clean Water Act subjects the violator to a penalty of up to

the maximum amount allowed pursuant to Sections 309(d) and 505(a) of the Clean Water Act,

33 U.S.C. §§ 1319(d), 1365(a). See also 40 C.F.R. §§ 19.1-19.4.

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                                   FACTUAL BACKGROUND
The Facility’s Wastewater Permits

62.     The Facility discharges cooling wastewater from heat exchangers and vacuum pumps

through Outfall Serial Number 004 to the Merrimack River.

63.     The Facility discharges backwash wastewater from the Facility’s intake water strainer

through Outfall Serial Number 007 to the Merrimack River.

64.     On September 23, 2008, EPA issued Nylon NPDES permit No. NH0000116 for its

cooling and backwash wastewater discharges. Nylon was required to comply with the

requirements of the 2008 Wastewater Permit from at least October 1, 2008 until August 1, 2019.

65.     On May 21, 2013, Nylon filed an application for permit reissuance with EPA. On August

1, 2019, EPA renewed Nylon’s Wastewater Permit. Nylon has been required to comply with the

requirements of the 2019 Wastewater Permit since August 1, 2019.

        Nylon’s Numeric Effluent Limitations Under the Wastewater Permits

66.     The Wastewater Permits place limits on the quantity and concentration of pollutants that

Nylon is legally permitted to discharge into the Merrimack River through Outfalls 004 and 007

by setting effluent limitations for pH and temperature.

67.     The 2008 Wastewater Permit requires that the pH level of the Facility’s effluent be

between 6.5 to 8.0 standard units, unless the upstream ambient pH in the receiving water is

outside of this range and it is not altered by the Facility’s discharge or activities. If the Facility’s

discharge pH is lower than 6.5 standard units, the Facility may demonstrate compliance by

showing that the discharge pH is either higher than, or no more than 0.5 standard units lower

than, the ambient upstream receiving water pH. 2008 Wastewater Permit at 2, 3, 4, 7.

68.     The 2019 Wastewater Permit requires that effluent discharged from the Facility have a

pH level within a specified range of 6.5 to 8.0 standard units, unless the range should be widened
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due to naturally occurring conditions in the receiving water; or the naturally occurring receiving

water pH is not significantly altered by the Facility’s discharge. In no case shall the pH limits be

outside the range of 6.0 to 9.0 standard units. 2019 Wastewater Permit at 2, 5, 13.

69.    The effluent limitations for pH are also a State Certification requirement pursuant to

Section 401 of the CWA. 2008 Wastewater Permit at 4.

70.    The Wastewater Permits require that effluent discharged from the Facility not exceed a

maximum daily temperature of 83 degrees Fahrenheit. 2008 Wastewater Permit at 2-3; 2019

Wastewater Permit at 2, 5.

       Nylon’s Narrative Effluent Limitations Under the Wastewater Permits

71.    The Wastewater Permits require that Nylon’s discharges “not cause a violation of the

water quality standards of the receiving water.” 2008 Wastewater Permit at 4; 2019 Wastewater

Permit at 8.

72.    The 2019 Wastewater Permit prohibits Nylon from discharging waste “unless it has been

treated in such manner as will not lower the legislated water quality classification or interfere

with the uses assigned to said water by the New Hampshire Legislature (RSA 485-A:12).” 2019

Wastewater Permit at 13.

73.    The 2008 Wastewater Permit requires that Nylon’s wastewater discharges “remain free

from pollutants which produce odor, color, taste or turbidity in the receiving waters which is not

naturally occurring and would render it unsuitable for its designated uses.” 2008 Wastewater

Permit at 4.

74.    The 2019 Wastewater Permit requires that Nylon’s wastewater discharge “remain free

from substances in kind or quality that produce odor, color, taste or turbidity that is not naturally

occurring and would render the surface water unsuitable for its designated uses; result in the


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dominance of nuisance species; or interfere with recreational activities.” 2019 Wastewater

Permit at 8.

75.    The 2019 Wastewater Permit requires that Nylon’s wastewater discharge “not result in oil

and grease, color, slicks, odors, or surface floating solids that would impair any existing or

designated receiving water uses.” 2019 Wastewater Permit at 8.

76.    The 2008 Wastewater Permit prohibits the “discharge into receiving waters of any

pollutant or combination of pollutants in toxic amounts.” 2008 Wastewater Permit at 4.

77.    The 2019 Wastewater Permit prohibits discharges that “result in toxic substances or

chemical constituents in concentrations or combinations in the receiving water that injure or are

inimical to plants, animals, humans, or aquatic life.” 2019 Wastewater Permit at 8.

78.    The 2019 Wastewater Permit prohibits discharges that “persist in the environment or

accumulate in aquatic organisms to levels that result in harmful concentrations in edible portions

of fish, shellfish, other aquatic life, or wildlife that might consume aquatic life.” 2019

Wastewater Permit at 8.

       Nylon’s Monitoring and Reporting Requirements Under the Wastewater Permits

79.    The 2019 Wastewater Permit requires Nylon to monitor the maximum daily residual

chlorine from Outfall 004 once per week with a grab sample and report the results to EPA

quarterly. 2019 Wastewater Permit at 2, 5.

80.    The 2019 Wastewater Permit requires Nylon to report any noncompliance which may

endanger health or the environment verbally within 24 hours from the time it becomes aware of

the circumstances. 2019 Wastewater Permit at 9-10.

81.    The 2019 Wastewater Permit requires Nylon to submit a written report to EPA detailing

any noncompliance which may endanger health or the environment within 5 days. 2019


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Wastewater Permit at 9-10.

82.    Nylon is required to submit discharge monitoring reports to EPA by the 15th day of each

month using EPA’s electronic NetDMR tool. 2008 Wastewater Permit at 6; 2019 Wastewater

Permit Fact Sheet at 10.

The Facility’s Stormwater Permits

83.    The Facility discharges stormwater associated with industrial activity.

84.    Nylon’s activities include those which are classified by the Stormwater Permits as

subsector C4: Plastics, Synthetics, and Resins. 2015 Stormwater Permit § 8.C.3 at 58-60; 2021

Stormwater Permit § 8.C.4 at 78-79.

85.    Nylon’s activities include the manufacturing of polyamide-type synthetic resin (Nylon 6,

6-6, and copolymers), produced in a pelletized form for use in transportation, packaging,

electrical, and aerospace applications per § 8.C.3 of the 2015 Stormwater Permit and § 8.C.4 of

the 2021 Stormwater Permit. 2015 Stormwater Permit at 59; 2021 Stormwater Permit at 79.

86.    Nylon was required to comply with the requirements of the 2015 Stormwater Permit from

at least October 2015 until around July 1, 2021.

87.    Nylon submitted its Notices of Intent for Stormwater Discharges Associated with

Industrial Activity Under the [2021] NPDES Multi-Sector General Permit for the Facility on

May 27, 2021.

88.    Nylon is required to comply with the requirements of the 2021 Stormwater Permit and

has been required to comply with the requirements of the 2021 Stormwater Permit since around

July 1, 2021.

       Nylon’s Pollutant Control Requirements Under the Stormwater Permits

89.    The Stormwater Permits require Nylon to “select, design, install, and implement control


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measures (including best management practices) to minimize pollutant discharges [and] that

address the selection and design considerations in Part 2.1.1, meet the non-numeric effluent

limits in Part 2.1.2, . . . and meet the water quality-based effluent limitations in Part 2.2.” 2015

Stormwater Permit § 2.1 at 14; 2021 Stormwater Permit § 2.1 at 18.

90.    The Stormwater Permits require Nylon to “minimize the exposure of manufacturing,

processing, and material storage areas (including loading and unloading, storage, disposal,

cleaning, maintenance, and fueling operations) to rain, snow, snowmelt and runoff by either

locating these industrial materials and activities inside or protecting them with storm resistant

coverings.” 2015 Stormwater Permit § 2.1.2.1 at 15; 2021 Stormwater Permit § 2.1.2.1 at 20.

91.    The Stormwater Permits require Nylon to “keep clean all exposed areas that are potential

sources of pollutants” and “perform good housekeeping measures in order to minimize pollutant

discharges.” 2015 Stormwater Permit § 2.1.2.2 at 15-16; 2021 Stormwater Permit § 2.1.2.2 at 20-

21.

92.    The Stormwater Permits require Nylon to “[s]weep or vacuum at regular intervals or,

alternatively, wash down the area and collect and/or treat, and properly dispose of the washdown

water.” Id.

93.    The Stormwater Permits require Nylon to “[m]inimize the potential for waste, garbage

and floatable debris to be discharged by keeping exposed areas free of such materials, or by

intercepting them before they are discharged.” 2015 Stormwater Permit § 2.1.2.2 at 16; 2021

Stormwater Permit § 2.1.2.2 at 21.

94.    The Stormwater Permits require Nylon to “maintain all control measures that are used to

achieve the effluent limits in this permit in effective operating condition, as well as all industrial

equipment and systems, in order to minimize pollutant discharges.” 2015 Stormwater Permit §


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2.1.2.3 at 16-17; 2021 Stormwater Permit § 2.1.2.3 at 21-22.

95.    The Stormwater Permits require Nylon to “perform[] inspections and preventative

maintenance of stormwater drainage, source controls, treatment systems, and plant equipment

and systems that could fail and result in discharges of pollutants via stormwater.” Id.

96.    The Stormwater Permits require Nylon to “clean[] catch basins when the depth of debris

reaches two-thirds (2/3) of the sump depth . . . and keep[] the debris surface at least six inches

below the lowest outlet pipe.” Id.

97.    The Stormwater Permits require that if Nylon “find[s] that [its] control measures need

routine maintenance, [it] must conduct the necessary maintenance immediately in order to

minimize pollutant discharges.” Id. If Nylon “find[s] that [its] control measures need to be

repaired or replaced, [it] must immediately take all reasonable steps to prevent or minimize the

discharge of pollutants until the final repair or replacement is implemented.” Id.

98.    The Stormwater Permits require Nylon to “minimize the potential for leaks, spills, and

other releases that may be exposed to stormwater and develop plans for effective response to

such spills if or when they occur in order to minimize pollutant discharges. [It] must conduct

spill prevention and response measures,” including measures listed in § 2.1.2.4 of the

Stormwater Permits. 2015 Stormwater Permit § 2.1.2.4 at 17; 2021 Stormwater Permit § 2.1.2.4

at 22-23.

99.    The Stormwater Permits require Nylon to minimize erosion and discharge of sediment.

2015 Stormwater Permit § 2.1.2.5 at 17-18; 2021 Stormwater Permit § 2.1.2.5 at 23.

100.   The Stormwater Permits require Nylon to “divert, infiltrate, reuse, contain, or otherwise

reduce stormwater runoff to minimize pollutants in [its] discharges.” 2015 Stormwater Permit §

2.1.2.6 at 18; 2021 Stormwater Permit § 2.1.2.6 at 23.


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101.    The Stormwater Permits require Nylon to “evaluate for the presence of non-stormwater

discharges. . . If not covered under a separate NPDES permit, wastewater, wash water and any

other unauthorized non-stormwater must be discharged to a sanitary sewer in accordance with

applicable industrial pretreatment requirements, or otherwise disposed of appropriately.” 2015

Stormwater Permit § 2.1.2.9 at 19; 2021 Stormwater Permit § 2.1.2.9 at 24.

102.    The Stormwater Permits require Nylon to “minimize generation of dust and off-site

tracking of raw, final, or waste materials in order to minimize pollutants discharged via

stormwater.” 2015 Stormwater Permit § 2.1.2.10 at 19; 2021 Stormwater Permit § 2.1.2.10 at 24.

103.    The Stormwater Permits require Nylon to conduct routine facility inspections “of areas of

the facility covered by the requirements in the [Stormwater Permits]” at least quarterly. 2015

Stormwater Permit § 3.1 at 22-24; 2021 Stormwater Permit § 3.1 at 27-29.

104.    The Stormwater Permits require that “[d]uring an inspection occurring during a

stormwater event or discharge, control measures implemented to comply with effluent limits

must be observed to ensure they are functioning correctly.” Id.

        Nylon’s Monitoring and Reporting Requirements Under the Stormwater Permits

105.    The Stormwater Permits require Nylon “to collect and analyze stormwater samples”

during “a storm event that results in an actual discharge from [the] site . . . . at least once in each

of the following 3-month intervals: January 1 – March 31; April 1– June 30; July 1– September

30; October 1– December 31.” 2015 Stormwater Permit § 6, § 6.1.3, § 6.1.7 at 39-40; 2021

Stormwater Permit § 4, § 4.1.3, § 4.1.7 at 31-33.

106.    The Stormwater Permits require Nylon to conduct quarterly benchmark monitoring for

zinc. 2015 Stormwater Permit § 6.2 at 40-41, § 8.C.3 at 58-59; 2021 Stormwater Permit § 4.2 at

33-35, § 8.C.4 at 78-79.


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107.   “When adverse weather conditions [such as flooding, high winds, electrical storms, or

extended frozen conditions] prevent the collection of stormwater discharge samples according to

the relevant [benchmark or impaired waters] monitoring schedule, [Nylon] must take a substitute

sample during the next qualifying storm event.” 2015 Stormwater Permit § 6.1.5 at 39-40; 2021

Stormwater Permit § 4.1.5 at 33.

108.   Once each quarter for the entire Stormwater Permit term, Nylon must collect a

stormwater sample from each outfall and conduct a visual assessment of each of these samples.

2015 Stormwater Permit § 3.2.1 at 24; 2021 Stormwater Permit § 3.2.1 at 29. Nylon “must

visually inspect or observe the sample for the following water quality characteristics: color; odor;

clarity (diminished); floating solids; settled solids; suspended solids; foam; oil sheen; and other

obvious indicators of stormwater pollution.” Id.; 2021 Stormwater Permit § 3.2.2.4 at 29-30.

109.   “When adverse weather conditions prevent the collection of stormwater discharge

sample(s) during the quarter [for visual assessment], [Nylon] must take a substitute sample

during the next qualifying storm event. Documentation of the rationale for no visual assessment

for the quarter must be included with [Nylon’s] SWPPP records.” 2015 Stormwater Permit §

3.2.3 at 25; 2021 Stormwater Permit § 3.2.4.1 at 30.

110.   The Facility is “considered to discharge to an impaired water if the first water of the U.S.

to which [it] discharges is identified by a state, tribe, or EPA pursuant to section 303(d) of the

CWA as not meeting an applicable water quality standard . . .” 2015 Stormwater Permit § 6.2.4

at 45; 2021 Stormwater Permit § 4.2.5 at 42.

111.   The 2015 Stormwater Permit requires Nylon to “monitor all pollutants for which the

waterbody is impaired and for which a standard analytical method exists . . . once per year at

each outfall (except substantially identical outfalls) discharging stormwater to impaired waters


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without an EPA-approved or established TMDL [Total Maximum Daily Load].” The Stormwater

Permits identify such monitoring as “impaired waters monitoring.” 2015 Stormwater Permit §

6.2.4.1 at 45; 2021 Stormwater Permit § 4.2.5 at 42.

112.   The 2021 Stormwater Permit requires Nylon to conduct impaired waters monitoring

“annually in the first year of permit coverages and again in the fourth year of permit coverage. . .

unless [it] detect[s] a pollutant causing an impairment, in which case annual monitoring must

continue.” 2021 Stormwater Permit § 4.2.5.1 at 42.

113.   Upon information and belief, Nylon was and/or is required to conduct impaired waters

monitoring for pH, aluminum, dissolved oxygen, E. Coli, and/or mercury. U.S. EPA, How’s My

Waterway, 2014 Waterbody Report for Merrimack River (NHRIV700060803-14-02).

114.   Nylon is required to report its monitoring data to EPA using EPA’s electronic NetDMR

tool. 2015 Stormwater Permit § 6.1.9 at 40; 2021 Stormwater Permit § 4.1.9 at 33.

       Nylon’s Required Corrective Action and Additional-Implementation-Measures Under
       the Stormwater Permits

115.   The Stormwater Permits include sector-specific benchmarks for Sector C4 facilities like

Nylon. 2015 Stormwater Permit § 8.C at 58-60; 2021 Stormwater Permit § 8.C at 77-80.

116.   The Stormwater Permits require Nylon to take corrective action or Additional

Implementation Measures (“AIMs”) when the following triggering events occur: 1) “the average

of four quarterly sampling results exceeds an applicable benchmark” or, if less than four

benchmark samples have been taken, “an exceedance of the four quarter average is

mathematically certain (i.e., if the sum of quarterly sample results to date is more than four times

the benchmark level),” 2015 Stormwater Permit at 27; 2021 Stormwater Permit at 39; 2) Nylon’s

control measures are not stringent enough for the discharge and/or the receiving water of the

United States to meet applicable water quality standards or the non-numeric effluent limits in the

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Stormwater Permits, 2015 Stormwater Permit at 27; 2021 Stormwater Permit at 45; 3) a visual

assessment shows evidence of stormwater pollution (e.g., color, odor, floating solids, settled

solids, suspended solids, foam), id.; or 4) a required control measure was never installed, was

installed incorrectly, or not in accordance with the Stormwater Permits, or is not being properly

operated or maintained. Id.

117.    Following a triggering event, Nylon is required to: 1) review and revise its SWPPP so

that the Stormwater Permits’ effluent limits are met and pollutant discharges are minimized; 2)

immediately take all reasonable steps necessary to minimize or prevent the discharge of

pollutants until a permanent solution is installed and made operational; and 3) if necessary,

“complete the corrective actions. . . before the next storm event if possible, and within 14

calendar days from the time of discovery of the corrective action condition.” 2015 Stormwater

Permit § 4.1 at 27, § 4.3.1 at 28, § 4.3.2 at 28; 2021 Stormwater Permit § 5.1.1 at 45, § 5.1.3.1 at

46, § 5.1.3.2 at 46.

        Nylon’s Narrative Effluent Limitations Under the Stormwater Permits

118.    Under the Stormwater Permits, Nylon is required to control its stormwater discharges “as

necessary to meet applicable water quality standards of all affected states.” 2015 Stormwater

Permit § 2.2.1 at 20; 2021 Stormwater Permit § 2.2.1 at 25.

119.    The 2015 Stormwater Permit requires that Nylon’s discharge not cause or contribute to

an exceedance of applicable water quality standards in any affected state. 2015 Stormwater

Permit § 2.2.1 at 20.

120.    The Stormwater Permits require that if at any time Nylon becomes aware that its

discharge does not meet applicable water quality standards or its stormwater discharge will not

be controlled as necessary such that the receiving water of the United States will not meet an


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applicable water quality standard, Nylon must take corrective action(s) and document the

corrective actions. 2015 Stormwater Permit § 2.2.1 at 20; 2021 Stormwater Permit § 2.2.1 at 25.

121.    If Nylon finds that its control measures are not achieving their intended effect of

minimizing pollutant discharges to meet applicable water standards or any of the other non-

numeric effluent limits in the Stormwater Permits, Nylon must modify these control measures

per the corrective action requirements. 2015 Stormwater Permit § 2.1 at 14; 2021 Stormwater

Permit § 2.1 at 18.

The Facility’s Operations and Discharges
122.    Defendants NYCOA and Wembly Enterprises have operated and continue to operate a

nylon production facility at 333 Sundial Avenue in Manchester, New Hampshire (“Nylon” or

“the Facility”).

123.    The Facility manufactures polyamide-type synthetic resin (nylon 6, 6-6, and copolymers)

in pelletized form.

        Wastewater Discharges

124.    To reduce or control the temperature of various stages of the nylon manufacturing

process, the Facility uses cooling water withdrawn from a pair of cooling water intake structures

that are located near the bottom of the Merrimack River.

125.    The cooling water is associated with the operation of several heat exchangers and a

vacuum pump and is discharged to the Merrimack River via Outfall 004.

126.    Nylon also operates a backwash system that removes deposits from a filter located on the

discharge side of the cooling pumps; this backwash is discharged to the Merrimack River via

Outfall 007.

        Stormwater Discharges

127.    Nylon’s Stormwater Pollution Prevention Plan (“SWPPP”) identifies the following
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potential stormwater pollution sources at the Facility: No. 2 fuel oil AST and unloading area,

second floor lubrication station, extrusion department oil and wetting agent storage area,

warehouse receiving docks, R-2 hydraulic drive unit, hydraulic elevator reservoir, electrical

transformers, solid waste compactor, caprolactam storage and unloading area,

hexamethylenediamine (HMD) storage and unloading area, process water AST outdoor storage

(Capro Recovery), portable steel process vessel cleaning tank, effluent monitoring station, pallet

storage, dowtherm overflow/eclipse (2) vaporizer system, dowtherm vapor overflow collection,

heat transfer fluid hold tank/vent line, bath process dryers, acetone waste accumulation area,

safety kleen degreaser, sulfuric acid waste accumulation area, air emissions- dust collector, air

emissions- extractor vents in packaging area, air emissions- dryer holding tank vents, sloped and

unpaved areas subject to erosion, fire hydrant flushing/authorized non-stormwater discharge,

irrigation system flushing/authorized non-stormwater discharge, hazardous waste storage area,

rupture disk vent under the fire escape, dowtherm collection 55 gallon drum inside the zimmer

wing, and tanker truck used for cleanouts.

128.    Nylon’s SWPPP identifies the following potential pollutants in their storm water runoff:

oil (including no. 2 fuel oil, lubricating oils, hydraulic oil, and mineral oil), hydraulic fluid,

grease, lubricants, wetting agents, flammable material, combustible material, corrosive material,

miner oil dielectric fluid, BOD, TSS, waste liquid materials disposed of in roll off, caprolactam,

HMD (high pH), diethylene glycol, triethylene glycol, dowtherm, heat transfer fluids, VOCs,

capro dust, acetone, degreasing solvent, sulfuric acid, nylon pellets, nylon dust, hazardous waste.

129.    Upon information and belief, the Facility’s handling and/or storage of the pollutants

listed in paragraph 128 have resulted in leaks and/or slicks at the Facility.

130.    Upon information and belief, leaks and/or slicks of the pollutants listed in paragraph 128


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have been exposed to precipitation and snowmelt.

131.   Upon information and belief, the Facility stores raw materials, including polymers,

stabilizers, resin, and colors, in aboveground storage tanks that are exposed to precipitation and

snowmelt.

132.   The Facility stores bulk fuel in aboveground storage tanks that are exposed to

precipitation and snowmelt.

133.   According to Nylon’s annual reports, building structures, fencing, and other items at the

Facility are exposed to precipitation and snowmelt.

134.   Upon information and belief, the Facility has fuel oil unloading areas that are exposed to

precipitation and snowmelt.

135.   Upon information and belief, the Facility has chemical loading and unloading areas that

are exposed to precipitation and snowmelt.

136.   Upon information and belief, dust and sediments are generated from the loading and

unloading of raw materials, including caprolactam, from railcars at the Facility.

137.   Upon information and belief, as Nylon loads and unloads raw materials from railcars,

dust and sediments are generated which directly enter catch basins, culverts, and/or drainage

swales and are discharged from the Facility in stormwater.

138.   Construction vehicles at the Facility generate dust and track oil, grease, sediments, and

other pollutants on-site where precipitation and snowmelt washes these pollutants into catch

basins, culverts, and/or drainage swales and directly into the Merrimack River.

139.   Delivery vehicles entering and leaving the Facility track oil, grease, sediments, raw

materials, and other pollutants on-site where precipitation and snowmelt washes these pollutants

into catch basins, culverts, and/or drainage swales and directly into the Merrimack River.


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140.   Precipitation and snowmelt at the Facility becomes contaminated with dust and solids,

fuel and oil, and organic contaminants including caprolactam and other raw materials, and other

pollutants associated with the Facility’s operations.

141.   During every measurable precipitation event and every instance of snowmelt, water flows

onto and over exposed materials and accumulated pollutants at the Facility, generating

stormwater runoff.

142.   EPA considers precipitation above 0.1 inches during a 24-hour period a measurable

precipitation event. 40 C.F.R. § 122.26(c)(i)(E)(6).

143.   Upon information and belief, a measurable precipitation event is sufficient to generate

runoff from the Facility.

144.   Nylon has discharged, and continues to discharge, stormwater associated with industrial

activities from the Facility into waters of the United States through Outfalls 001, 002, 003, and

004.

145.   Nylon’s stormwater drainage system consists of catch basins, culverts, and drainage

swales that discharge to surface waters.

146.   Upon information and belief, stormwater runoff from the Facility is collected, channeled,

and conveyed via site grading, curbing, berming, slopes, site infrastructure, the operation of

gravity, and other conveyances into the stormwater drainage system which conveys the runoff

into the Merrimack River.

147.   Nylon has a SWPPP that was most recently updated in January 2022. Upon information

and belief, Nylon’s SWPPP has not been modified in response to conditions requiring SWPPP

review and revision, per § 4.1 of the 2015 Stormwater Permit and § 5.1.1 of the 2021 Stormwater

Permit, since at least January 2017.


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148.   Nylon’s operations cause the discharge of zinc and other pollutants from Facility Outfalls

001, 002, 003, and 004 to the Merrimack River.

The Waterbody Affected by the Facility’s Discharges

149.   The Merrimack River is a Class B waterbody.

150.   The Merrimack River is a navigable water within the meaning of the Clean Water Act.

151.   The Merrimack River’s designated uses include aquatic life, fish consumption, potential

drinking water supply, and primary and secondary contact recreation.

152.   The Merrimack River is a source of drinking water for around 600,000 residents of New

Hampshire and Massachusetts.

153.   The Merrimack River is a popular resource for residents and visitors who enjoy

swimming, fishing, boating, kayaking, canoeing, hiking, observing wildlife, and a variety of

other aesthetic, and primary and secondary contact recreation uses on and near the River.

154.   The Facility discharges pollutants to the Merrimack River at waterbody segment

NHRIV700060803-14-02. 2019 Wastewater Permit Fact Sheet at 1.

155.   Waterbody segment NHRIV700060803-14-02 was listed as impaired on the 2016 and

2018 303(d) lists for aquatic life integrity from aluminum, phosphorus, and pH.

156.   Waterbody segment NHRIV700060803-14-02 is impaired for fish consumption from

mercury, and for primary contact recreation from E. coli.

157.   In 2010, NH DES prepared a New Hampshire Statewide Total Maximum Daily Load

(“TMDL”) for Bacteria Impaired Waters addressing the E. coli impairments for waterbody

segment NHRIV700060803-14-02.

158.   In 2007, NH DES along with the Connecticut Department of Environmental Protection,

the Maine Department of Environmental Protection, the Massachusetts Department of


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Environmental Protection, the New York State Department of Environmental Conservation, the

Rhode Island Department of Environmental Management, the Vermont Department of

Environmental Conservation, and the New England Interstate Water Pollution Control

Commission prepared a Northeast Regional Mercury Total Maximum Daily Load addressing

regional mercury impairments, including in the lower Merrimack River in New Hampshire.

              DEFENDANTS’ VIOLATIONS OF THE CLEAN WATER ACT

Numeric Effluent Limitation Violations of the Wastewater Permits

        Pollutant: pH

159.    Fluctuating pH or sustained pH outside the optimal range of 6.5-8.0 standard units

physiologically stresses many species and can result in decreased reproduction, decreased

growth, disease or death, and, ultimately, reduced biological diversity of aquatic communities.

160.    Small changes in pH can shift community composition in waterbodies because pH alters

the chemical state of many pollutants, including aluminum and mercury.

161.    Acidic conditions increase the solubility, transport, and bioavailability of these pollutants,

thereby rendering them more toxic and increasing the exposure of aquatic plants and animals.

162.    The Facility has discharged effluent in violation of the Wastewater Permits’ minimum pH

level requirement of 6.5 standard units at least 32 times between the first quarter of 2017 and the

first quarter of 2022, as detailed in the table below.

 Par.      Pollutant       Monitoring Period      Outfall        Permit Limit        Measured
 No.       Criteria        End Date                                                  Value
 163.      pH              12/31/2018             004            6.5-8.0 S.U.        6.4 S.U.
 164.      pH              4/30/2019              004            6.5-8.0 S.U.        6.3 S.U.
 165.      pH              5/31/2019              004            6.5-8.0 S.U.        6.1 S.U.
 166.      pH              10/31/2019             004            6.5-8.0 S.U.        6.3 S.U.
 167.      pH              11/30/2019             004            6.5-8.0 S.U.        6.0 S.U.
 168.      pH              12/31/2019             004            6.5-8.0 S.U.        5.8 S.U.
 169.      pH              1/31/2020              004            6.5-8.0 S.U.        6.1 S.U.
 170.      pH              2/29/2020              004            6.5-8.0 S.U.        6.0 S.U.

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 171.      pH             3/31/2020                004          6.5-8.0 S.U.       6.0 S.U.
 172.      pH             3/31/2020                007          6.5-8.0 S.U.       6.2 S.U.
 173.      pH             4/30/2020                004          6.5-8.0 S.U.       5.9 S.U.
 174.      pH             5/31/2020                004          6.5-8.0 S.U.       6.0 S.U.
 175.      pH             6/30/2020                007          6.5-8.0 S.U.       6.4 S.U.
 176.      pH             10/31/2020               004          6.5-8.0 S.U.       6.2 S.U.
 177.      pH             11/30/2020               004          6.5-8.0 S.U.       6.2 S.U.
 178.      pH             12/31/2020               004          6.5-8.0 S.U.       5.8 S.U.
 179.      pH             12/31/2020               007          6.5-8.0 S.U.       6.2 S.U.
 180.      pH             1/31/2021                004          6.5-8.0 S.U.       5.8 S.U.
 181.      pH             2/28/2021                004          6.5-8.0 S.U.       6.1 S.U.
 182.      pH             3/31/2021                004          6.5-8.0 S.U.       6.0 S.U.
 183.      pH             3/31/2021                007          6.5-8.0 S.U.       6.2 S.U.
 184.      pH             4/30/2021                004          6.5-8.0 S.U.       5.9 S.U.
 185.      pH             5/31/2021                004          6.5-8.0 S.U.       5.9 S.U.
 186.      pH             6/30/2021                004          6.5-8.0 S.U.       6.1 S.U.
 187.      pH             6/30/2021                007          6.5-8.0 S.U.       5.9 S.U.
 188.      pH             9/30/2021                004          6.5-8.0 S.U.       6.3 S.U.
 189.      pH             10/31/2021               004          6.5-8.0 S.U.       6.4 S.U.
 190.      pH             11/30/2021               004          6.5-8.0 S.U.       6.2 S.U.
 191.      pH             12/31/2021               004          6.5-8.0 S.U.       6.3 S.U.
 192.      pH             12/31/2021               007          6.5-8.0 S.U.       5.6 S.U.
 193.      pH             1/31/2022                004          6.5-8.0 S.U.       6.2 S.U.
 194.      pH             2/28/2022                004          6.5-8.0 S.U.       6.4 S.U.

        Pollutant: Temperature

195.    Fish, insects, zooplankton, phytoplankton, and other aquatic species all have specific

temperature ranges necessary for their survival.

196.    As temperature increases above or decreases below a species’ required range, individuals

of the species die.

197.    Increases in water temperatures can lead to an increase in pathogens, nutrients, algal

blooms, rates of water evaporation, and invasive species.

198.    The Facility has discharged effluent in violation of the Wastewater Permits’ maximum

daily temperature limitation of 83 degrees Fahrenheit at least 6 times between the first quarter of

2017 and the last quarter of 2021, as detailed in the table below.


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 Par.     Pollutant       Monitoring            Outfall      Permit Limit             Measured
 No.      Criteria        Period End Date                                             Value
 199.     Temperature     7/31/2018             004          83°F Maximum             86°F
                                                             Daily
 200.     Temperature     8/31/2018             004          83°F Maximum             85°F
                                                             Daily
 201.     Temperature     7/31/2019             004          83°F Maximum             87°F
                                                             Daily
 202.     Temperature     6/30/2020             004          83°F Maximum             84°F
                                                             Daily
 203.     Temperature     7/31/2020             004          83°F Maximum             84°F
                                                             Daily
 204.     Temperature     6/30/2021             004          83°F Maximum             85°F
                                                             Daily

Narrative Effluent Limitation Violations of the Wastewater Permits

205.    Upon information and belief, the Facility has discharged, and continues to discharge,

pollutants (including but not limited to effluent below the Wastewater Permits’ minimum pH

level of 6.5 standard units and above the maximum daily temperature limitation of 83º F), that

have contributed to, and will continue to contribute to, the violation of state water quality

standards and interference with the Merrimack River’s assigned use.

206.    Upon information and belief, the Facility has discharged, and continues to discharge,

pollutants (including but not limited to effluent below the Wastewater Permits’ minimum pH

level of 6.5 standard units and above the maximum daily temperature limitation of 83º F), that

produce odor, color, taste or turbidity in the receiving water, and renders it unsuitable for its

designated use, results in the dominance of nuisance species, and/or interferes with recreational

activities.

207.    Upon information and belief, the Facility has discharged, and continues to discharge,

pollutants (including but not limited to effluent below the Wastewater Permits’ minimum pH

level of 6.5 standard units and above the maximum daily temperature limitation of 83º F), that

results in color, slicks, odors, or surface floating solids and contributes to the impairments of the
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Merrimack River at waterbody segment NHRIV700060803-14-02 for aquatic life.

208.    Upon information and belief, the Facility has discharged, and continues to discharge,

pollutants (including but not limited to effluent below the Wastewater Permits’ minimum pH

level of 6.5 standard units and above the maximum daily temperature limitation of 83º F), that

result in toxic substances or chemical constituents in concentrations or combinations in the

receiving water that injure or are inimical to plants, animals, humans, or aquatic life.

Monitoring and Reporting Violations of the Wastewater Permits

209.    On at least one occasion since January 2017, Nylon has failed to monitor for and report

the maximum daily total residual chlorine, as detailed in the below table.

                                         Monitoring                Type of Monitoring and
 Par.
          Pollutant Criteria             Period End     Outfall    Reporting
 No.
                                         Date                      Requirement
 210.     Chlorine                       8/31/2020      004        Benchmark

211.    On at least one occasion since January 2017, Nylon has failed to notify EPA verbally and

in writing of noncompliance which may endanger health or the environment, as detailed in the

table below.

 Par.     Dates of Violation             Type of Monitoring and Reporting Violation
 No.
 212.     12/11/2019-1/10/2020           Failure to Notify

213.    On at least five occasions since January 2017, Nylon has failed to submit discharge

monitoring reports to EPA, as detailed in the table below.

 Par.     Dates of Violation             Type of Monitoring and Reporting Violation
 No.
 214.     10/1/2018-12/31/2018           Failure to Report DMR
 215.     1/1/2019-3/31/2019             Failure to Report DMR
 216.     4/1/2019-6/30/2019             Failure to Report DMR
 217.     7/1/2019-9/30/2019             Failure to Report DMR
 218.     10/1/2019-12/31/2019           Failure to Report DMR

219.    On at least one occasion since January 2017, Nylon has improperly and/or incorrectly
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filed discharge monitoring reports, as detailed in the table below.

 Par.       Dates of Violation          Type of Monitoring and Reporting Violation
 No.
 220.       12/11/2019-1/10/2020        Improper/Incorrect Reporting

221.    On at least one occasion since January 2017, Nylon has untimely submitted discharge

monitoring reports, as detailed in the table below.

 Par.       Dates of Violation          Type of Monitoring and Reporting Violation
 No.
 222.       12/11/2019-1/10/2020        Late Submittal of DMRs

Violations of the Stormwater Permits’ Effluent Limitations

223.    The Facility has failed, and continues to fail, to use control measures to minimize

pollutant discharges.

224.    The Facility has discharged, and continues to discharge, pollutants (including but not

limited to zinc and other heavy metals) that have contributed to, and will continue to contribute

to, degradation of the Merrimack River, including the violation of state water quality standards.

225.    The discharge of zinc and other pollutants from the Facility has resulted in unnatural and

objectionable odor, color, taste, and/or turbidity in the receiving waters downstream from the

Facility.

226.    The discharge of pollutants from the Facility has resulted in floating, suspended, and

settleable solids; scum; benthic deposits; oil and grease; and/or harmful concentrations or

combinations of chemical constituents in the receiving waters downstream from the Facility.

227.    The discharge of pollutants from the Facility has contributed to the impairments of the

Merrimack River at waterbody segment NHRIV700060803-14-02.

228.    Upon information and belief, CLF expects that discovery will reveal additional

discharges of pollutants causing or contributing to violations of the New Hampshire state water


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quality standards.

229.       Upon information and belief, CLF expects that discovery will reveal additional violations

of the Stormwater Permits.

           Pollutant: Zinc

230.       The Facility’s discharges of zinc contribute to the degradation of the Merrimack River

and to the violation of state water quality standards.

231.       When ingested, zinc may cause health problems in humans, including brain damage,

infertility and developmental issues, pancreatic damage, anemia, nausea, vomiting, and stomach

cramps.

232.       Zinc is toxic to humans and aquatic organisms in high amounts, and it reacts with

chemicals like cadmium to intensify their toxicity. Zinc bioaccumulates in aquatic animals.

233.       The Facility’s quarterly discharge monitoring reports show that they have discharged zinc

every quarter for which monitoring was conducted since at least the first quarter of 2017.

234.       The Facility has failed, and continues to fail, to use control measures to minimize

discharges of zinc.

235.       The Facility has discharged concentrations of zinc higher than the 2015 Stormwater

Permit benchmark value for zinc of 0.04 milligrams per liter and/or the 2021 Stormwater Permit

benchmark value for zinc of 37 micrograms per liter at least 30 times between the first quarter of

2017 and the last quarter of 2021, as detailed in the table below. 1

    Par.     Pollutant Monitoring           Outfall      Benchmark       Measured       Limit
    No.      Criteria Period End                         Value           Value          Exceedance
                       Date                                                             Percent
    236.     Zinc      3/31/2017            002          0.04 mg/L       0.05 mg/L      125%

1
 The benchmark value units of measurement for certain pollutant criteria change from
milligrams per liter in the 2015 Stormwater Permit to micrograms per liter in the 2021
Stormwater Permit.
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 237.     Zinc        3/31/2017           003           0.04 mg/L      0.083 mg/L     208%
 238.     Zinc        3/31/2017           004           0.04 mg/L      0.176 mg/L     440%
 239.     Zinc        6/30/2018           002           0.04 mg/L      0.123 mg/L     308%
 240.     Zinc        6/30/2018           003           0.04 mg/L      0.111 mg/L     278%
 241.     Zinc        6/30/2018           004           0.04 mg/L      0.305 mg/L     763%
 242.     Zinc        9/30/2018           002           0.04 mg/L      0.168 mg/L     420%
 243.     Zinc        9/30/2018           003           0.04 mg/L      0.065 mg/L     163%
 244.     Zinc        9/30/2018           004           0.04 mg/L      0.331 mg/L     828%
 245.     Zinc        12/31/2018          002           0.04 mg/L      0.121 mg/L     303%
 246.     Zinc        12/31/2018          003           0.04 mg/L      0.129 mg/L     323%
 247.     Zinc        12/31/2018          004           0.04 mg/L      0.201 mg/L     503%
 248.     Zinc        3/31/2019           002           0.04 mg/L      0.105 mg/L     263%
 249.     Zinc        3/31/2019           003           0.04 mg/L      0.227 mg/L     568%
 250.     Zinc        3/31/2019           004           0.04 mg/L      0.309 mg/L     773%
 251.     Zinc        6/30/2019           002           0.04 mg/L      0.096 mg/L     240%
 252.     Zinc        6/30/2019           003           0.04 mg/L      0.152 mg/L     380%
 253.     Zinc        6/30/2019           004           0.04 mg/L      0.202 mg/L     505%
 254.     Zinc        3/31/2020           002           0.04 mg/L      0.066 mg/L     165%
 255.     Zinc        3/31/2020           004           0.04 mg/L      0.107 mg/L     268%
 256.     Zinc        6/30/2020           002           0.04 mg/L      0.082 mg/L     205%
 257.     Zinc        6/30/2020           003           0.04 mg/L      0.187 mg/L     468%
 258.     Zinc        6/30/2020           004           0.04 mg/L      0.273 mg/L     683%
 259.     Zinc        9/30/2020           002           0.04 mg/L      0.189 mg/L     473%
 260.     Zinc        9/30/2020           003           0.04 mg/L      0.089 mg/L     223%
 261.     Zinc        9/30/2020           004           0.04 mg/L      0.109 mg/L     273%
 262.     Zinc        12/31/2020          002           0.04 mg/L      0.1 mg/L       250%
 263.     Zinc        12/31/2020          004           0.04 mg/L      0.19 mg/L      475%
 264.     Zinc        3/31/2021           002           0.04 mg/L      0.114 mg/L     285%
 265.     Zinc        3/31/2021           003           0.04 mg/L      0.272 mg/L     680%

266.    Nylon’s four-quarter average zinc concentrations at the Facility have exceeded the 2015

Stormwater Permit’s benchmark value of 0.04 and/or the 2021 Stormwater Permit’s benchmark

value of 37 micrograms per liter at least 27 times since the first quarter of 2017.

267.    Nylon’s discharges of zinc from the Facility have triggered the Stormwater Permits’

corrective action and/or AIM requirements at least 27 times since the first quarter of 2017, as

detailed in the table below.

 Par. Pollutant      Date Corrective         Outfall      Benchmark          Annual Average
 No. Criteria        Action Triggered                     Value
 268. Zinc           9/30/2018               002          0.04 mg/L          0.129 mg/L
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 269.   Zinc         9/30/2018               003        0.04 mg/L           0.092 mg/L
 270.   Zinc         9/30/2018               004        0.04 mg/L           0.394 mg/L
 271.   Zinc         12/31/2018              002        0.04 mg/L           0.116 mg/L
 272.   Zinc         12/31/2018              003        0.04 mg/L           0.097 mg/L
 273.   Zinc         12/31/2018              004        0.04 mg/L           0.253 mg/L
 274.   Zinc         3/31/2019               002        0.04 mg/L           0.129 mg/L
 275.   Zinc         3/31/2019               003        0.04 mg/L           0.133 mg/L
 276.   Zinc         3/31/2019               004        0.04 mg/L           0.287 mg/L
 277.   Zinc         6/30/2019               002        0.04 mg/L           0.123 mg/L
 278.   Zinc         6/30/2019               003        0.04 mg/L           0.143 mg/L
 279.   Zinc         6/30/2019               004        0.04 mg/L           0.261 mg/L
 280.   Zinc         3/31/2020               002        0.04 mg/L           0.097 mg/L
 281.   Zinc         3/31/2020               003        0.04 mg/L           0.132 mg/L
 282.   Zinc         3/31/2020               004        0.04 mg/L           0.205 mg/L
 283.   Zinc         6/30/2020               002        0.04 mg/L           0.087 mg/L
 284.   Zinc         6/30/2020               003        0.04 mg/L           0.147 mg/L
 285.   Zinc         6/30/2020               004        0.04 mg/L           0.223 mg/L
 286.   Zinc         9/30/2020               002        0.04 mg/L           0.108 mg/L
 287.   Zinc         9/30/2020               003        0.04 mg/L           0.112 mg/L
 288.   Zinc         9/30/2020               004        0.04 mg/L           0.173 mg/L
 289.   Zinc         12/31/2020              002        0.04 mg/L           0.109 mg/L
 290.   Zinc         12/31/2020              003        0.04 mg/L           0.083 mg/L
 291.   Zinc         12/31/2020              004        0.04 mg/L           0.17 mg/L
 292.   Zinc         3/31/2021               002        0.04 mg/L           0.121 mg/L
 293.   Zinc         3/31/2021               003        0.04 mg/L           0.146 mg/L
 294.   Zinc         3/31/2021               004        0.04 mg/L           0.146 mg/L

        Pollutant: Effluent Containing Evidence of Stormwater Pollution

295.    The Facility’s discharges of effluent containing evidence of stormwater pollution

contribute to the degradation of the Merrimack River and to the violation of state water quality

standards for New Hampshire.

296.    The Facility has failed, and continues to fail, to use control measures to minimize

discharges of visible and malodorous pollutants.

297.    Upon information and belief, facility inspections at the Facility revealed instances where

discharges were not adequately controlled.

298.    Nylon has observed evidence of stormwater pollution in the effluent of the Facility at


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least eleven times since the first quarter of 2017. Nylon’s observations of evidence of stormwater

pollution at the Facility have triggered the Stormwater Permits’ corrective action and/or AIM at

least eleven times since the first quarter of 2017, as detailed in the table below.

 Par. Monitoring Description of Issue
 No. Period
 299. 2018/Q3    “solids in 2-2 from vegetated drainage swale, sediment conveyed thorugh
                 [sic] the drainage system at 4-3.”
 300. 2018/Q4    “solids in 2-2 from vegetated drainage swale, solids at 3-1 and 4-3
                 appeared conveyed thorugh [sic] the drainage system.”
 301. 2019/Q1    “light red color in 2-1 from sprinkler flushing. Solids in 2-1 and 2-2 were
                 from vegetated drainage swale. Some sediment at locked drain 4-3.”
 302. 2019/Q1    “visual assessments were collected for first and second quarter [sic] and
      and Q2     some solids such as sand were noticed in the visual samples.”
 303. 2020/Q1    “snow melt sample with settled sediment is [sic] most samples.”
 304. 2020/Q2    “settled sand in most the [sic] samples, some pollen on 3-1, 4-1.
                 Pavement collection areas have more silt 4-1, 5-1.”
 305. 2020/Q3    “some settles [sic] sand in 2-1, 2-2, 4-1, 4-2 and pollen on most the [sic]
                 samples floating.”
 306. 2020/Q4    “floating solids such as leaves and silt in many of the samples.”
 307. 2020/Q1-   “visual assessments were collected for all four quarters and some solids
      Q4         such as sand sediment were noticed in the visual samples. In addition to
                 heavy pollen seasons, sample will have floating or suspended pollen.”
 308. 2021/Q1    “snow melt sample, sediment 2-2, 3-1 dark dirty samples from snow
                 banks.”
 309. 2021/Q2    “slight settled silt in 2-1, 2-2, 3-1, 4-1, 4-4. Heavier cloudy dirt in 4-4.”

Monitoring and Reporting Violations of the Stormwater Permits

310.    Nylon has failed to conduct required quarterly benchmark and annual impaired waters

monitoring at the Facility for the following pollutant criteria, on the following dates, and from

the following outfalls:

                                              Monitoring                 Type of Monitoring and
 Par. No.      Pollutant Criteria             Period End      Outfall    Reporting
                                              Date                       Requirement
 311.          Zinc                           3/31/2017       001        Benchmark
 312.          Zinc                           6/30/2017       001        Benchmark
 313.          Zinc                           6/30/2017       002        Benchmark
 314.          Zinc                           6/30/2017       003        Benchmark
 315.          Zinc                           6/30/2017       004        Benchmark
 316.          Zinc                           9/30/2017       001        Benchmark
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317.      Zinc                   9/30/2017    002    Benchmark
318.      Zinc                   9/30/2017    003    Benchmark
319.      Zinc                   9/30/2017    004    Benchmark
320.      Aluminum               9/30/2017    001    Impaired waters
321.      Aluminum               9/30/2017    002    Impaired waters
322.      Aluminum               9/30/2017    003    Impaired waters
323.      Aluminum               9/30/2017    004    Impaired waters
324.      Dissolved Oxygen       9/30/2017    001    Impaired waters
325.      Dissolved Oxygen       9/30/2017    002    Impaired waters
326.      Dissolved Oxygen       9/30/2017    003    Impaired waters
327.      Dissolved Oxygen       9/30/2017    004    Impaired waters
328.      E. coli                9/30/2017    001    Impaired waters
329.      E. coli                9/30/2017    002    Impaired waters
330.      E. coli                9/30/2017    003    Impaired waters
331.      E. coli                9/30/2017    004    Impaired waters
332.      pH                     9/30/2017    001    Impaired waters
333.      pH                     9/30/2017    002    Impaired waters
334.      pH                     9/30/2017    003    Impaired waters
335.      pH                     9/30/2017    004    Impaired waters
336.      Zinc                   12/31/2017   001    Benchmark
337.      Zinc                   12/31/2017   002    Benchmark
338.      Zinc                   12/31/2017   003    Benchmark
339.      Zinc                   12/31/2017   004    Benchmark
340.      Zinc                   3/31/2018    001    Benchmark
341.      Zinc                   3/31/2018    002    Benchmark
342.      Zinc                   3/31/2018    003    Benchmark
343.      Zinc                   3/31/2018    004    Benchmark
344.      Zinc                   6/30/2018    001    Benchmark
345.      Zinc                   9/30/2018    001    Benchmark
346.      Aluminum               9/30/2018    001    Impaired waters
347.      Dissolved Oxygen       9/30/2018    001    Impaired waters
348.      E. coli                9/30/2018    001    Impaired waters
349.      E. coli                9/30/2018    002    Impaired waters
350.      E. coli                9/30/2018    003    Impaired waters
351.      E. coli                9/30/2018    004    Impaired waters
352.      pH                     9/30/2018    001    Impaired waters
353.      Zinc                   12/31/2018   001    Benchmark
354.      Zinc                   3/31/2019    001    Benchmark
355.      Zinc                   6/30/2019    001    Benchmark
356.      Zinc                   9/30/2019    001    Benchmark
357.      Zinc                   9/30/2019    002    Benchmark
358.      Zinc                   9/30/2019    003    Benchmark
359.      Zinc                   9/30/2019    004    Benchmark
360.      Aluminum               9/30/2019    001    Impaired waters
361.      Aluminum               9/30/2019    002    Impaired waters
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362.      Aluminum               9/30/2019    003    Impaired waters
363.      Aluminum               9/30/2019    004    Impaired waters
364.      Dissolved Oxygen       9/30/2019    001    Impaired waters
365.      Dissolved Oxygen       9/30/2019    002    Impaired waters
366.      Dissolved Oxygen       9/30/2019    003    Impaired waters
367.      Dissolved Oxygen       9/30/2019    004    Impaired waters
368.      E. coli                9/30/2019    001    Impaired waters
369.      E. coli                9/30/2019    002    Impaired waters
370.      E. coli                9/30/2019    003    Impaired waters
371.      E. coli                9/30/2019    004    Impaired waters
372.      pH                     9/30/2019    001    Impaired waters
373.      pH                     9/30/2019    002    Impaired waters
374.      pH                     9/30/2019    003    Impaired waters
375.      pH                     9/30/2019    004    Impaired waters
376.      Zinc                   12/31/2019   001    Benchmark
377.      Zinc                   12/31/2019   002    Benchmark
378.      Zinc                   12/31/2019   003    Benchmark
379.      Zinc                   12/31/2019   004    Benchmark
380.      Zinc                   3/31/2020    001    Benchmark
381.      Zinc                   6/30/2020    001    Benchmark
382.      Zinc                   9/30/2020    001    Benchmark
383.      Aluminum               9/30/2020    001    Impaired waters
384.      Aluminum               9/30/2020    002    Impaired waters
385.      Aluminum               9/30/2020    003    Impaired waters
386.      Aluminum               9/30/2020    004    Impaired waters
387.      Dissolved Oxygen       9/30/2020    001    Impaired waters
388.      Dissolved Oxygen       9/30/2020    002    Impaired waters
389.      Dissolved Oxygen       9/30/2020    003    Impaired waters
390.      Dissolved Oxygen       9/30/2020    004    Impaired waters
391.      E. coli                9/30/2020    001    Impaired waters
392.      E. coli                9/30/2020    002    Impaired waters
393.      E. coli                9/30/2020    003    Impaired waters
394.      E. coli                9/30/2020    004    Impaired waters
395.      pH                     9/30/2020    001    Impaired waters
396.      pH                     9/30/2020    002    Impaired waters
397.      pH                     9/30/2020    003    Impaired waters
398.      pH                     9/30/2020    004    Impaired waters
399.      Zinc                   12/31/2020   001    Benchmark
400.      Zinc                   3/31/2021    001    Benchmark
401.      Zinc                   9/30/2021    002    Benchmark
402.      Zinc                   9/30/2021    003    Benchmark
403.      Zinc                   9/30/2021    004    Benchmark
404.      Zinc                   12/31/2021   002    Benchmark
405.      Zinc                   12/31/2021   003    Benchmark
406.      Zinc                   12/31/2021   004    Benchmark
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 407.         Aluminum                       12/31/2021      002       Impaired waters
 408.         Aluminum                       12/31/2021      003       Impaired waters
 409.         Aluminum                       12/31/2021      004       Impaired waters
 410.         Dissolved Oxygen               12/31/2021      002       Impaired waters
 411.         Dissolved Oxygen               12/31/2021      003       Impaired waters
 412.         Dissolved Oxygen               12/31/2021      004       Impaired waters
 413.         E. coli                        12/31/2021      002       Impaired waters
 414.         E. coli                        12/31/2021      003       Impaired waters
 415.         E. coli                        12/31/2021      004       Impaired waters
 416.         pH                             12/31/2021      002       Impaired waters
 417.         pH                             12/31/2021      003       Impaired waters
 418.         pH                             12/31/2021      004       Impaired waters

419.    Where Nylon failed to conduct required quarterly benchmark monitoring due to adverse

weather conditions, Nylon failed to take a substitute sample during the next qualifying storm

event as required by the Stormwater Permits.

420.    On at least five occasions since January 2017, Nylon has failed to submit discharge

monitoring reports to EPA, as detailed in the table below.

 Par.     Dates of Violation            Type of Monitoring and Reporting Violation
 No.
 421.     10/1/2018-12/31/2018          Failure to Report DMR
 422.     1/1/2019-3/31/2019            Failure to Report DMR
 423.     4/1/2019-6/30/2019            Failure to Report DMR
 424.     7/1/2019-9/30/2019            Failure to Report DMR
 425.     10/1/2019-12/31/2019          Failure to Report DMR

426.    On at least one occasion since January 2017, Nylon has improperly and/or incorrectly

filed discharge monitoring reports, as detailed in the table below.

 Par.     Dates of Violation            Type of Monitoring and Reporting Violation
 No.
 427.     12/11/2019-1/10/2020          Improper/Incorrect Reporting

428.    On at least one occasion since January 2017, Nylon has untimely submitted discharge

monitoring reports, as detailed in the table below.

 Par.     Dates of Violation            Type of Monitoring and Reporting Violation
 No.

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 429.     12/11/2019-1/10/2020            Late Submittal of DMRs

                      THE FACILITY’S HARMS TO CLF MEMBERS

430.    CLF members use the Merrimack River for drinking water, swimming, boating, fishing,

aesthetic enjoyment, and observing wildlife.

431.    CLF members cherish the Merrimack River as a place of natural importance, historical

interest, and/or personal significance.

432.    CLF members enjoy the experience of sharing the recreational and aesthetic values of the

Merrimack River with family and friends.

433.    The Facility’s discharges of pollutants into the Merrimack River have degraded the health

of the waterbody and contributed to its impairments in a way that diminishes the use and

enjoyment of the waterbody by CLF members.

434.    CLF members are concerned about the health impacts of pollution from drinking water

sourced downstream from the Facility.

435.    CLF members are concerned about the health impacts of pollution from direct contact

with waters downstream from the Facility.

436.    CLF members worry about the potential health effects of being exposed to heavy metals

and other pollutants in the Merrimack River while boating and fishing.

437.    CLF members worry about the negative impact of heavy metals and other pollutants on

their ability to enjoy observing wildlife on the Merrimack River.

438.    The presence of odor, unnatural color, scum, foam, and diminished water clarity

adversely affect the aesthetic enjoyment of the Merrimack River by CLF members.

                                     CLAIMS FOR RELIEF

Count I: Violation of the Wastewater Permits’ Effluent Limitation and State Certification
                                 Requirement for pH

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439.   Paragraphs 1 through 438 are incorporated by reference as if fully set forth herein.

440.   The Facility has discharged effluent in violation of the Wastewater Permits’ pH level

requirement at least 32 times since the first quarter of 2017.

441.   In light of Defendants’ history of violations, and their failure to take corrective action,

Defendants will continue to violate these provisions of the Wastewater Permits in the future

unless and until enjoined from doing so.

442.   Each day that Defendants have violated, or continue to violate, the Wastewater Permits’

minimum pH requirement is a separate and distinct violation of the Wastewater Permits, State

Certification Requirement, and Section 301(a) of the Clean Water Act, 33 U.S.C. § 1311(a).

   Count II: Violation of the Wastewater Permits’ Effluent Limitation for Temperature

443.   Paragraphs 1 through 438 are incorporated by reference as if fully set forth herein.

444.   The Facility has discharged effluent in violation of the Wastewater Permits’ maximum

daily temperature at least 6 times since the first quarter of 2017.

445.   In light of Defendants’ history of violations, and their failure to take corrective action,

Defendants will continue to violate this provision of the Wastewater Permits in the future unless

and until enjoined from doing so.

446.   Each day that Defendants have violated, or continue to violate, the Wastewater Permits’

daily temperature limitation is a separate and distinct violation of the Wastewater Permits and

Section 301(a) of the Clean Water Act, 33 U.S.C. § 1311(a).

Count III: Failure to Comply with the Wastewater Permits’ Prohibition Against Causing a
 Violation of Water Quality Standards, and/or Interference with the Merrimack River’s
                                      Assigned Use

447.   Paragraphs 1 through 438 are incorporated by reference as if fully set forth herein.

448.   Upon information and belief, the Facility has discharged, and continues to discharge,
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pollutants that have caused, and will continue to cause, the violation of state water quality

standards, and interference with the Merrimack River’s assigned use, in violation of the

Wastewater Permits. 2008 Wastewater Permit at 4; 2019 Wastewater Permit at 8.

449.    The Facility has caused, and continues to cause, violations of New Hampshire state water

quality standards contained in N.H. Code Admin. R. Env-Wq § 1703.18, pertaining to pH limits,

in violation of the Wastewater Permits. 2008 Wastewater Permit at 4; 2019 Wastewater Permit at

8.

450.    The Facility has caused, and continues to cause, violations of New Hampshire state water

quality standards contained in N.H. Code Admin. R. Env-Wq § 1703.01(b), (c), pertaining to the

integrity of surface waters; fish, shellfish, and wildlife; and recreation, in violation of the

Wastewater Permits. 2008 Wastewater Permit at 4; 2019 Wastewater Permit at 8.

451.    The Facility has caused, and continues to cause, violations of New Hampshire state water

quality standards contained in N.H. Code Admin. R. Env-Wq § 1703.19, pertaining to biological

and aquatic community integrity, in violation of the Wastewater Permits. 2008 Wastewater

Permit at 4; 2019 Wastewater Permit at 8.

452.    The Facility has caused, and continues to cause, violations of New Hampshire state water

quality standards contained in N.H. Code Admin. R. Env-Wq § 1703.03(c)(1), pertaining to

substances that settle; float; produce odor, taste, or turbidity; or interfere with recreation, in

violation of the Wastewater Permits. 2008 Wastewater Permit at 4; 2019 Wastewater Permit at 8.

453.    The Facility has caused, and continues to cause, violations of New Hampshire state water

quality standards contained in N.H. Code Admin. R. Env-Wq §1703.10(b), pertaining to color in

Class B waters, in violation of the Wastewater Permits. 2008 Wastewater Permit at 4; 2019

Wastewater Permit at 8.


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454.   The Facility has caused, and continues to cause, violations of New Hampshire state water

quality standards contained in N.H. Code Admin. R. Env-Wq § 1703.12(b), pertaining to slicks,

odors, or floating solids, in violation of the Wastewater Permits. 2008 Wastewater Permit at 4;

2019 Wastewater Permit at 8.

455.   The Facility has caused, and continues to cause, violations of New Hampshire state water

quality standards contained in N.H. Code Admin. R. Env-Wq §1703.21(a), pertaining to toxic

substances or chemical constituents, in violation of the Wastewater Permits. 2008 Wastewater

Permit at 4; 2019 Wastewater Permit at 8.

456.   Every state surface water quality standard violation constitutes a separate and distinct

violation of the Wastewater Permits and the Clean Water Act.

457.   The Facility has interfered with the Merrimack River’s assigned use for aquatic life.

458.   In light of Defendants’ history of violations, and their failure to take corrective action,

Defendants will continue to violate these provisions of the Wastewater Permits in the future

unless and until enjoined from doing so.

459.   Each day, and for each pollutant parameter, each state water quality standard that

Defendants have violated, or continue to violate, and each assigned use Defendants have

interfered with constitutes a separate and distinct violation of the Wastewater Permits and

Section 301(a) of the Clean Water Act, 33 U.S.C. § 1311(a).

       Count IV: Violation of the Wastewater Permits’ Narrative Effluent Limitations

460.   Paragraphs 1 through 438 are incorporated by reference as if fully set forth herein.

461.   Upon information and belief, the Facility has discharged, and continues to discharge,

pollutants that produce odor, color, taste or turbidity in the receiving water, and renders it

unsuitable for its designated use, results in the dominance of nuisance species, and/or interferes


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with recreational activities, in violation of the Wastewater Permits. 2008 Wastewater Permit at 4;

2019 Wastewater Permit at 8.

462.    Upon information and belief, the Facility has discharged, and continues to discharge,

pollutants that result in color, slicks, odors, or surface floating solids and contributes to the

impairments of the Merrimack River at waterbody segment NHRIV700060803-14-02 for aquatic

life, in violation of the 2008 Wastewater Permit. 2008 Wastewater Permit at 8.

463.    Upon information and belief, the Facility has discharged, and continues to discharge,

pollutants that result in toxic substances or chemical constituents in concentrations or

combinations in the receiving water that injure or are inimical to plants, animals, humans, or

aquatic life, in violation of the Wastewater Permits. 2008 Wastewater Permit at 4; 2019

Wastewater Permit at 8.

464.    Upon information and belief, the Facility has discharged, and continues to discharge,

pollutants that persist in the environment or accumulate in aquatic organisms to levels that result

in harmful concentrations in edible portions of fish, shellfish, other aquatic life, or wildlife that

might consume aquatic life, in violation of the 2019 Wastewater Permit. 2019 Wastewater

Permit at 8.

465.    In light of Defendants’ history of violations, and its failure to take corrective action,

Defendants will continue to violate these provisions of the Wastewater Permits in the future

unless and until enjoined from doing so.

466.    Each day, and for each pollutant parameter, that Defendants have violated, or continue to

violate, the Wastewater Permits’ narrative limitations is a separate and distinct violation of the

Wastewater Permits and Section 301(a) of the Clean Water Act, 33 U.S.C. § 1311(a).

   Count V: Failure to Comply with the Wastewater Permits Monitoring and Reporting
                                     Requirements

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467.    Paragraphs 1 through 438 are incorporated by reference as if fully set forth herein.

468.    On at least one occasion since January 2017, Nylon has failed to monitor for and report

the maximum daily total residual chlorine, in violation of the 2019 Wastewater Permit. 2019

Wastewater Permit at 2.

469.    On at least one occasion since January 2017, Nylon has failed to notify EPA verbally and

in writing of noncompliance which may endanger health or the environment, in violation of the

2019 Wastewater Permit. 2019 Wastewater Permit at 9-10.

470.    On at least five occasions since January 2017, Nylon has failed to submit quarterly

discharge monitoring reports to EPA, in violation of the Wastewater Permits. 2008 Wastewater

Permit at 6; 2019 Wastewater Permit Fact Sheet at 10.

471.    On at least one occasion since January 2017, Nylon has improperly and/or incorrectly

filed quarterly discharge monitoring reports, in violation of the Wastewater Permits. 2008

Wastewater Permit at 6; 2019 Wastewater Permit Fact Sheet at 10.

472.    On at least one occasion since January 2017, Nylon has untimely submitted quarterly

discharge monitoring reports, in violation of the Wastewater Permits. 2008 Wastewater Permit at

6; 2019 Wastewater Permit Fact Sheet at 10.

473.    In light of Defendants’ history of violations, Defendants will continue to violate these

provisions of the Wastewater Permits in the future unless and until enjoined from doing so.

474.    Each day that Defendants have violated, or continue to violate, the Wastewater Permits’

monitoring and reporting requirements is a separate and distinct violation of the Wastewater

Permits and Section 301(a) of the Clean Water Act, 33 U.S.C. § 1311(a).

       Count VI: Failure to Comply with the Stormwater Permits’ Requirement to Take
                Corrective Actions and/or AIMs Following Triggering Events

475.    Paragraphs 1 through 438 are incorporated by reference as if fully set forth herein.

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476.    On at least 27 occasions at the Facility, the average of four quarterly samplings results

exceeded the applicable benchmark values or an exceedance of the four-quarter average was

mathematically certain, triggering corrective action or additional implementation measures.

477.    Upon information and belief, the control measures at the Facility did not and do not

adequately minimize discharges to meet applicable water quality standards, triggering corrective

action or additional implementation measures.

478.    On at least eleven occasions, evidence of stormwater pollution is documented in the

Facility’s quarterly visual assessments of discharge, triggering corrective action or additional

implementation measures.

479.    Facility inspections revealed that discharges were not adequately controlled at the

Facility, triggering corrective action or additional implementation measures.

480.    Following these triggering events, Nylon did not take corrective action nor AIMs, in

violation of the 2015 Stormwater Permit § 4.1, § 4.3.1, § 4.3.2 and the 2021 Stormwater Permit §

5.1.1, § 5.1.3.1, and § 5.1.3.2.

481.    Upon information and belief, following these triggering events, Nylon did not review and

revise the Stormwater Pollution Prevention Plans for the Facility, in violation of the 2015

Stormwater Permit § 4.1, § 4.3.1, § 4.3.2 and the 2021 Stormwater Permit § 5.1.1, § 5.1.3.1, and

§ 5.1.3.2.

482.    Upon information and belief, following these triggering events, Nylon did not

immediately take all reasonable steps to minimize or prevent the discharge of pollutants until it

could implement a permanent solution, in violation of the 2015 Stormwater Permit § 4.1, § 4.3.1,

§ 4.3.2 and the 2021 Stormwater Permit § 5.1.1, § 5.1.3.1, and § 5.1.3.2.

483.    Upon information and belief, following these triggering events, Nylon did not take


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subsequent actions as necessary before the next storm event if possible and within fourteen

calendar days from the time of discovery, in violation of the 2015 Stormwater Permit § 4.1, §

4.3.1, § 4.3.2 and the 2021 Stormwater Permit § 5.1.1, § 5.1.3.1, and § 5.1.3.2.

484.   In light of Defendants’ history of violations, and its failure to take corrective action,

Defendants will continue to violate this provision of the Stormwater Permits in the future unless

and until enjoined from doing so.

485.   Each day that Defendants have violated, or continue to violate, the corrective action

and/or AIM requirement is a separate and distinct violation of the Stormwater Permits and

Section 301(a) of the Clean Water Act, 33 U.S.C. § 1311(a).

 Count VII: Failure to Comply with the Stormwater Permits’ Requirement to Use Control
                       Measures to Minimize Pollutant Discharges

486.   Paragraphs 1 through 438 are incorporated by reference as if fully set forth herein.

487.   The Stormwater Permits require that Nylon select, design, install, and implement control

measures “to minimize pollutant discharges.” 2015 Stormwater Permit § 2.1 at 14; 2021

Stormwater Permit § 2.1 at 18.

488.   Nylon has failed, and continues to fail, to select, design, install, and implement control

measures to minimize pollutant discharges.

489.   Upon information and belief, Nylon has failed to comply with the pollutant control

measures required in Section 2.1 of the Stormwater Permits, including but not limited to

provisions related to minimizing exposure, good housekeeping measures, maintenance of control

measures, leaks and spills, control of sediment discharge, and dust generation.

490.   On at least 30 occasions at the Facility, Nylon has discharged pollutants in excess of the

benchmark value in the Stormwater Permits.

491.   Each day that Defendants have violated, or continue to violate, the Stormwater Permits’

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requirement to use control measures to minimize pollutant discharges is a separate and distinct

violation of the Stormwater Permits, Section 301(a) of the Clean Water Act, 33 U.S.C. §

1311(a), and 40 C.F.R. Part 451.

       Count VIII: Failure to Comply with the Stormwater Permits’ Prohibition Against
                    Contributing to Violation of Water Quality Standards

492.     Paragraphs 1 through 438 are incorporated by reference as if fully set forth herein.

493.     Nylon has not controlled, and is not controlling, its stormwater discharges as necessary to

meet N.H. Code Admin. R. Env-Wq § 1703.01(b), (c), pertaining to the integrity of surface

waters; fish, shellfish, and wildlife; and recreation, in violation of the 2015 Stormwater Permit §

2.1, § 2.2.1 and the 2021 Stormwater Permit § 2.2.1.

494.     Nylon has not controlled, and is not controlling, its stormwater discharges as necessary to

meet N.H. Code Admin. R. Env-Wq § 1703.19, pertaining to biological and aquatic community

integrity, in violation of the 2015 Stormwater Permit § 2.1, § 2.2.1 and the 2021 Stormwater

Permit § 2.2.1.

495.     Nylon has not controlled, and is not controlling, its stormwater discharges as necessary to

meet N.H. Code Admin. R. Env-Wq § 1703.03(c)(1), pertaining to substances that settle; float;

produce odor, taste, or turbidity; or interfere with recreation, in violation of the 2015 Stormwater

Permit § 2.1, § 2.2.1 and the 2021 Stormwater Permit § 2.2.1.

496.     Nylon has not controlled, and is not controlling, its stormwater discharges as necessary to

meet N.H. Code Admin. R. Env-Wq §1703.09(b), pertaining to oil or grease in Class B waters,

in violation of the 2015 Stormwater Permit § 2.1, § 2.2.1 and the 2021 Stormwater Permit §

2.2.1.

497.     Nylon has not controlled, and is not controlling, its stormwater discharges as necessary to

meet N.H. Code Admin. R. Env-Wq §1703.10(b), pertaining to color in Class B waters, in
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violation of the 2015 Stormwater Permit § 2.1, § 2.2.1 and the 2021 Stormwater Permit § 2.2.1.

498.     Nylon has not controlled, and is not controlling, its stormwater discharges as necessary to

meet N.H. Code Admin. R. Env-Wq § 1703.12(b), pertaining to slicks, odors, or floating solids,

in violation of the 2015 Stormwater Permit § 2.1, § 2.2.1 and the 2021 Stormwater Permit §

2.2.1.

499.     Nylon has not controlled, and is not controlling, its stormwater discharge as necessary to

meet N.H. Code Admin. R. Env-Wq §1703.21(a), pertaining to toxic substances or chemical

constituents, in violation of the 2015 Stormwater Permit § 2.1, § 2.2.1 and the 2021 Stormwater

Permit § 2.2.1.

500.     Every state surface water quality standard violation constitutes a separate and distinct

violation of the Stormwater Permits and the Clean Water Act.

501.     In light of Defendants’ history of violations, and their failure to take corrective action,

Defendants will continue to violate the Stormwater Permits’ prohibition against causing or

contributing to the state water quality standards violations, including violations of each of the

above-enumerated state water quality standards, unless and until enjoined from doing so.

502.     Each day, and for each pollutant parameter and each state water quality standard that

Defendants have violated, or continue to violate, constitutes a separate and distinct violation of

the Stormwater Permits and of Section 301(a) of the Clean Water Act, 33 U.S.C. §§ 1311(a).

  Count IX: Failure to Comply with the Stormwater Permits’ Monitoring and Reporting
                                     Requirements

503.     Paragraphs 1 through 438 are incorporated by reference as if fully set forth herein.

504.     Nylon did not conduct required quarterly benchmark monitoring at the Facility at least 41

times since the first quarter of 2017, in violation of the 2015 Stormwater Permit § 6.2, § 8.C.3

and the 2021 Stormwater Permit §4.2, § 8.C.4.

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505.   Nylon did not conduct required annual impaired waters monitoring at the Facility at least

67 times since the first quarter of 2017, in violation of the 2015 Stormwater Permit § 6.2.4.1 and

the 2021 Stormwater Permit § 4.2.5, § 4.2.5.1.

506.   On at least five occasions since January 2017, Nylon did not submit discharge monitoring

reports to EPA, in violation of the 2015 Stormwater Permit § 6.1.9 and the 2021 Stormwater

Permit § 4.1.9.

507.   On at least one occasion since January 2017, Nylon improperly and/or incorrectly filed

discharge monitoring reports, in violation of the 2015 Stormwater Permit § 6.1.9 and the 2021

Stormwater Permit § 4.1.9.

508.   On at least one occasion since January 2017, Nylon did not submit discharge monitoring

reports by the deadline, in violation of the 2015 Stormwater Permit § 6.1.9 and the 2021

Stormwater Permit § 4.1.9.

509.   In light of Defendants’ history of violations, and their failure to take corrective action,

Defendants will continue to violate this provision of the Stormwater Permit in the future unless

and until enjoined from doing so.

510.   Each day that Defendants have violated, or continue to violate, the monitoring and

reporting requirements of the Stormwater Permits is a separate and distinct violation of the

Permit and Section 301(a) of the Clean Water Act, 33 U.S.C. § 1311(a).

                                      RELIEF REQUESTED

Plaintiff respectfully requests that this Court grant the following relief:

       a.         Issue a declaratory judgment, pursuant to 28 U.S.C. § 2201, that Defendants have

       violated, and remain in violation, of the Wastewater Permits, the Stormwater Permits, the

       State Certification Requirement for pH, Section 301(a) of the Clean Water Act, 33 U.S.C


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       § 1311(a), and applicable regulations, including but not limited to state water quality

       standards, as alleged in Counts I, II, II, IV, V, VI, VII, VIII, and IX of this Complaint;

       b.       Enjoin Defendants from violating the requirements of the Wastewater Permits, the

       Stormwater Permits, the State Certification Requirement for pH, Section 301(a) of the

       Clean Water Act, 33 U.S.C. § 1311(a), applicable Clean Water Act regulations, and state

       water quality standards;

       c.       Impose civil penalties on Defendants of up to $56,460 per day per violation for all

       violations occurring after November 2, 2015, and where penalties are assessed on or after

       December 23, 2020, pursuant to Sections 505(a) and 309(d) of the Clean Water Act, 33

       U.S.C. §§ 1365(a) and 1319(d), and its implementing regulations of 40 C.F.R. § 19.4;

       d.       Award Plaintiff’s costs of litigation, including reasonable attorney and expert

       witness fees, as provided under Section 505(a) of the Clean Water Act, 33 U.S.C. §

       1365(d); and

       e.       Grant such other relief as this Court may deem appropriate.


Dated: April 4, 2022

                                              /s/_Thomas Irwin___________
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